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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


JAMES BLASSINGAME and            )
SIDNEY HEMBY                     )
                                 )
                Plaintiffs,      )
                                 )
  v.                             )
                                 ) Civil Case No. 1:21-cv-00858-APM
DONALD J. TRUMP                  )
                                 )
                Defendant.       )
                                 )
                                 )

          DEFENDANT’S MEMORANDUM IN SUPPORT OF HIS
                      MOTION TO DISMISS
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STAFF     OF    S. COMM.         ON    HOMELAND SEC. & GOV’T AFFS., 117TH CONG., REP.                                         ON


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* U.S. Const. Art. II, § 1, cl. 2....................................................................................... 30

* U.S. Const. Art. II, § 2, cl. 2................................................................................. 29, 30



   * Authorities upon which President Trump primarily relies are marked by an

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      On January 6, 2021, the President of the United States encouraged Americans

to “peacefully and patriotically make [their voices] heard” regarding the certification

of presidential electors by Congress. Challenges to election results are common; the

freedom to advocate for action on such a challenge is a core principle of our republican

style of government. Indeed, many Democratic politicians raised challenges to the

2000, 2004, and 2016 elections. The uniquely American freedoms guaranteed in the

First Amendment protect the right to challenge election results and Congressional

action without fear of court sanctioned reprisals. Yet that is precisely what Plaintiffs

seek here.

      Moreover, the Constitution protects the President from encroachment on his

duties from other co-equal branches of government. A U.S. district court has no

more authority to penalize the President for his use of his bully pulpit than the

President has in having the U.S. Marshall Service arrest a judge because of a

disfavored legal decision.

      Judicial economy also forestalls this Court’s ability to hear this case. The U.S.

Capitol Police is a legislative agency whose interests were represented by the U.S.

House of Representatives’ impeachment managers during the Impeachment process.

As such, Plaintiffs are prohibited from bringing these claims under the doctrines of

res judicata and collateral estoppel.

      Finally, Plaintiffs do not allege facts plausibly establishing any of their claims.

Plaintiffs weave their own conspiracy in an attempt to bootstrap the President into

not only a conspiracy under § 1985, but also a civil conspiracy to violate numerous



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state laws. In support of these claims, Plaintiffs bring threadbare allegations and

factually deficient claims.

      Plaintiffs should be commended for their service and dedication as police

officers. Any attacks against law enforcement should be condemned and the

perpetrators punished, as President Trump has said repeatedly. Plaintiffs’ dispute

here, however, is not with President Trump but with any individuals who chose to

engage in violence and who should be held accountable.

                                     BACKGROUND

      Donald J. Trump, the 45th President of the United States, is known for his

patriotic and inspiring speeches that particularly resonate with those who feel

forgotten by Washington D.C.’s political establishment. His speeches draw immense

crowds throughout the country, but also bring scorn from political adversaries and

most of the corporate news media.

      Following the 2020 election, President Trump (among numerous others) raised

critical questions about the results of elections in several States. In the weeks and

months after the election, the President and his supporters were engaged in

litigation, recounts, and appeals.

      Post-election challenges are common and are made by candidates of both

political parties. For example, Ms. Rita Hart, a candidate for the U.S. House of

Representatives from Iowa’s 2nd Congressional District, contested the results of her




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narrow loss for five months after the 2020 election.1 Ms. Hart’s petition for the U.S.

House of Representatives to overturn the results of her district’s election followed a

fully certified election and a recount under Iowa State law. This is much different

than President Trump’s election challenge, which took place while he and his team

were litigating and challenging results that were not yet certified.

      There is ample historical precedent for challenging the certification of electors.

Democratic members of Congress challenged the certification of electors after the

2000, 2004, and 2016 elections. In 2000, Representatives Maxine Waters and Barbara

Lee objected to counting Florida’s electoral votes. See 147 Cong. Rec. H35 (daily ed.

Jan. 6, 2001) (statements of Reps. Waters and Lee). In 2004, Representatives Barbara

Lee and Jerrold Nadler objected to counting electoral votes from Ohio and voted to

object to certification of Ohio’s certified electors. See 151 Cong. Rec. H110 (daily ed.

Jan. 6, 2005) (statement by Rep. Lee); 151 Cong. Rec. H110–11 (daily ed. Jan. 6, 2005)

(statements by Reps. Nadler and Lee regarding alleged voting irregularities). And in

2016, Democratic representatives challenged nine States’ electoral votes—more than

Republicans challenged after the 2020 election. See 163 Cong. Rec. H186–87, 189

(daily ed. Jan. 6, 2017) (statements of Reps. Jayapal, Lee, and Waters).

      While President Trump is a vocal proponent of election integrity he also is

strongly committed to public safety and law and order. Indeed, just this month, the




1 Sarah Ferris & Ally Mutnick, Democrat drops election contest in Iowa house race,
POLITICO (Mar. 31, 2021), https://www.politico.com/news/2021/03/31/democrat-drops-
election-contest-in-iowa-house-race-478736.
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Senate Homeland Security and Governmental Affairs released a staff report (“HSGA

Report”) exonerating President Trump of involvement in the January 6 security

failures. In pertinent parts, the HSGA Report found that President Trump had

delegated the ability to use emergency powers, a lead federal agency had been

designated to deal with the security concerns around the January 6 counting of

electoral ballots, and President Trump personally asked if the security was ready on

January 3.2 These are not the actions of a co-conspirator attempting to undermine

security, rather the actions of a leader concerned with making sure that security is

properly in place.3

      Plaintiffs allege that during his 2016 campaign and throughout his presidency,

President Trump threatened, encouraged, and condoned acts of violence against his

political opponents. See Am. Compl. ¶ 12. Yet if Plaintiffs’ characterizations are

correct, then the words spoken by countless other politicians could qualify as threats

of violence amounting to conspiracies.4 Plaintiffs also try to establish liability because




      2 STAFF OF S. COMM. ON HOMELAND SEC. & GOV’T AFFS., 117TH CONG., REP. ON
EXAMINING THE U.S. CAPITOL ATTACK: A REVIEW OF THE SECURITY, PLANNING, AND
RESPONSE FAILURES ON JANUARY 6, at 77 (“HSGA Report”).
      3 Id. at 56, 95. The HSGA Report found that the agencies working on security

did not properly perform their functions, which is regrettable. The Report also
discusses knowledge of chatter by outside organizations regarding potential action at
the United States Capitol, but there is no mention of any involvement of President
Trump.
      4 Under Plaintiffs’ logic, Representative Maxine Waters would be far more

culpable for incitement to violence or riot when she actively encouraged people to go
out and harass Trump administration appointees in 2018 and again in 2021 if her
favored verdict was not returned in the State v. Chauvin case in
Minnesota. See Emma Colton, Here are six videos of Democrats calling for violence
or physical confrontations that are still active on Twitter, Washington Examiner
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of the way others interpreted President Trump’s tweet about the rally on January 6,

alleging that it was “understood by many of his supporters as a literal call to arms.”

Am. Compl. ¶ 33. This chilling legal argument is made without plausible factual

support. Plaintiffs simply cite two posts on social media by unknown entities without

alleging any connection to the President’s words. Id.

      Plaintiffs attempt to bring their actions for damages against President Trump

in his personal capacity, alleging—without support—that a sitting President running

for re-election acts in his personal capacity when commenting on the results of an

election that he believes has violated the Constitution and state laws. See Am. Compl.

¶ 18. Commenting on matters of public concern, especially commentary on the

security of a major election, falls dead center within the President’s constitutional

duties to see that the laws are faithfully executed.




(Jan. 11, 2021, 5:44 PM), https://www.washingtonexaminer.com/news/democrats-
physically-confont-twitter (“[I]f you see anybody from that Cabinet . . . you get out,
and you create a crowd. And you push back on them. And you tell them they’re not
welcome anymore, anywhere”); Chandelis Duster, Waters calls for protesters to ‘get
more confrontational’ if no guilty verdict is reached in Derek Chauvin trial, CNN
(Apr. 19, 2021, 8:32 PM),https://www.cnn.com/2021/04/19/politics/maxine-waters-
derek-chauvin-trial/index.html (quoting Rep. Waters telling people to “stay on the
street” and “get more confrontational”). Similarly, Representative Cory Booker
encouraged people to go to the Hill and “get up in the face of some
congresspeople.” Id. And Senator Jon Tester said that the way to beat President
Trump in states that voted for him was to “go back and punch him [Trump] in the
face.” Mike Brest, Democratic senator on how to beat Trump: ‘Punch him in the
face’, Washington      Examiner,        (July     19,    2019,     09:43        AM),
https://www.washingtonexaminer.com/news/democratic-senator-on-how-to-beat-
trump-punch-him-in-the-face. These threatening words are protected by the First
Amendment, and they far surpass the language spoken by President Trump.
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                                      ARGUMENT

      Plaintiffs assert claims that blame President Trump for the actions of

individuals with whom Plaintiffs allege he conspired based on his political speech

leading up to and following the 2020 election. These allegations rely on out of context

political speech and expression made by the President in press statements, social

media, and the rally at the Ellipse. To attempt to hold a political leader vicariously

liable for the actions of others as a result of constitutionally protected political speech

would contradict the Supreme Court’s well-established First Amendment precedent.

Even if the speech in question was not cloaked with the highest presumption of legal

protection, Plaintiffs’ claims are precluded by absolute Presidential immunity, res

judicata, and collateral estoppel.

      Free expression of political speech is central to the functioning of our Republic.

“[I]f there is any principle of the Constitution that more imperatively calls for

attachment than any other it is the principle of free thought—not free thought for

those who agree with us but freedom for the thought that we hate.” United States v.

Schwimmer, 279 U.S. 644, 654–55 (1929) (Holmes, J. dissenting). Our country’s

dedication to free speech can be seen in the refutation of the criminalization of false,

scandalous, or malicious speech against the Government with the Alien and Sedition

Acts in 1798. The Acts prompted future presidents Thomas Jefferson and James

Madison to author the Virginia and Kentucky Resolutions to express their belief in

the unconstitutionality of the laws, which essentially criminalized political opposition

to the Government. It would fly in the face of our country’s history of protecting free

speech to find that President Trump can be liable for incitement for expressing his
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genuine beliefs about the possible security and illegality of certain elections and

encouraging his supports to peacefully protest.

        In addition to all the legal reasons why Plaintiffs’ claims must be dismissed,

the Court should decline to exercise jurisdiction over these types of claims generally

as they represent value judgments reserved for the political branches. Opening the

courts to challenges of this nature, which at their core require evaluation of the

content of political speech, would unreasonably restrict the rights guaranteed by the

First Amendment. While an adverse holding would burden all individuals, the

Presidency in particular should not be burdened with apprehension that liability may

attach for political speech and action; the high-profile nature of the Office and the

need for quick decision making on critical issues support a conclusion to dismiss

lawsuits of this nature.

   I.      The Constitution forecloses this court from exercising jurisdiction over
           President Trump’s actions taken during his presidency.

   a.      Absolute immunity bars the claims against President Trump.

        Presidents must be decisive. When making critically important decisions, often

of historic proportions, it is imperative that their discretion not be colored, or their

actions chilled, by a fear that their presidential actions will result in civil liability—

ripening either during or after their presidential term. Consequently, courts have

long held that presidents are covered by absolute immunity, which is grounded in the

principle of separation of powers and entrenched in precedent dating back to common

law traditions. See Mitchell v. Forsyth, 472 U.S. 511, 521 (1985); Nixon v. Fitzgerald,

457 U.S. 731, 744 (1982); 3 J. Story, Commentaries on the Constitution of the United


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States § 1563, pp. 418-19 (1st ed. 1833) (reasoning that the President “must be

deemed, in civil cases at least, to possess an official inviolability.”). This immunity is

based on considerations of the official function, the nature of the task in question, and

the practical need to insulate the official’s decision making from second guessing by

the courts. See Harlow v. Fitzgerald, 457 U.S. 800, 807 (1982) (holding that absolute

immunity extends to “legislators, in their legislative functions,” “judges, in their

judicial functions,” members of the executive branch who perform prosecutorial or

adjudicative functions, and the President); Mitchell, 472 U.S. at 521 (explaining that

the Court looks to the “historical or common-law basis for the immunity in question”).

      Immunity covers the President’s conduct up to the “outer perimeter” of his

duties. See Chastain v. Sundquist, 833 F.2d 311, 315 (D.C. Cir. 1987) (holding that

presidential immunity “is absolute, . . . subject only to the requirement that [his]

actions fall within the outer perimeter of [his] official duties”); Clinton v. Jones, 520

U.S. 681, 696 (1997) (finding no immunity for purely private acts or acts outside of

official duties). Indeed, decisions where a President has been found subject to suit for

an action taken during his presidency are non-existent in the various circuit courts

of appeal.

      Immunity is the right not just to avoid judgment, but also to avoid pretrial

burdens, which can be disruptive to effective governance. See Mitchell, 472 U.S. at

526; Behrens v. Pelletier, 516 U.S. 299, 308 (1996). Precluding civil litigation against

the President is vital to ensuring a functioning executive branch—the absence of

immunity would incentivize lawsuits that would make the President hesitant to



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exercise his discretion “even when the public interest required bold and unhesitating

action.” Nixon, 457 U.S. at 744–45. See also Pierson v. Ray, 386 U.S. 547, 554 (1967)

(explaining that immunity serves the public interest in preserving the independence

and decisiveness necessary of government officials). Even when a plaintiff alleges

that a president’s actions exceed his legal authority, the privilege still prohibits

litigation. Otherwise, the rule would be swallowed whole by the exception; litigation

would constantly test whether a particular “action was unlawful[] or was taken for a

forbidden purpose.” Nixon, 457 U.S. at 756.

      The dominant concern motivating the Court’s reasoning regarding immunity

is the possibility of “distortion of the Executive’s ‘decision[-]making process’ with

respect to official acts that would stem from ‘worry as to the possibility of damages.’”

Trump v. Vance, 140 S. Ct. 2412, 2426 (2020). For this reason, the defense of

immunity extends beyond traditional actions at common law to civil cases for

monetary damages. See Tenney v. Brandhove, 341 U.S. 367, 376 (1951) (holding that

despite not explicitly providing the defense of immunity, 42 U.S.C. § 1983 does not

abrogate the defense, which is “so well grounded in history and reason”). Presidential

immunity also extends to suits seeking declaratory and injunctive relief. See Franklin

v. Massachusetts, 505 U.S. 788, 827 (1992) (Scalia, J., concurring) (explaining that

the Court’s reasoning in Nixon “appl[ies] with equal, if not greater, force to requests

for declaratory or injunctive relief in official-capacity suits that challenge the

President’s performance of executive functions”). Claims attempting to hold the

President civilly liable for a speech, rally, or petitioning activity would irreparably



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distort his decision-making process in a way that the Court recognizes is

unacceptable.

      On the same day the Supreme Court decided that the President had absolute

immunity, the Court drew a distinction between the persons entitled to such absolute

immunity and those only entitled to a lesser form of immunity. See Harlow v.

Fitzgerald, 457 U.S. 800, 807 (1982). In Harlow, the Supreme Court distinguished

between ordinary executive branch officials who would be entitled to qualified

immunity from those that are entitled to the higher protection of absolute immunity.

Harlow, 457 U.S. at 807 (“[O]ur cases make plain that qualified immunity represents

the norm.”). As the Supreme Court clearly explained, “government officials

performing discretionary functions generally are shielded from liability for civil

damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Id. at 817–18.

The Court has also held that evidence of a defendant’s subjective intent is irrelevant.

See Crawford-El v. Britton, 523 U.S. 574, 588 (1998) (“[The] defense of qualified

immunity may not be rebutted by evidence that the defendant’s conduct was

malicious   or   otherwise   improperly   motivated.”).   “[J]udgments    surrounding

discretionary action almost inevitably are influenced by the decisionmaker's

experiences, values, and emotions” and allowing subjective intent would result in no

clear standard for relevant evidence. Harlow, 457 U.S. at 816.

      Here, President Trump was engaged in discretionary action pursuant to his

Constitutional duty to ensure that the laws were faithfully executed by petitioning



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Congress not to certify the electors from States with ongoing election challenges. As

such, he is entitled to immunity because his speech did not violate any clearly

established legal duties. Based on the logic of Harlow, the President is entitled to

absolute immunity. The Court has continuously re-affirmed the purpose of these

immunities to allow officials to carry out their functions without fear of civil

retribution for legitimate acts. See Nixon, 457 U.S. at 749, Tenney v. Brandhove, 341

U.S. 367, 376 (1951) (“Legislators are immune from deterrents to the uninhibited

discharge of their legislative duty, not for their private indulgence but for the public

good.”); Imbler v. Pachtman, 424 U.S. 409, 423 (1976) (holding that absolute

immunity existed for a federal prosecutor to prevent distraction from his public duties

or improper consideration in the exercise of his independent judgment). To hold that

the President is in some actions protected by absolute immunity and in others

protected by qualified immunity would unnecessarily burden the Office of the

President with different liabilities at different times. This would be inconsistent with

the rationale for extending the immunity in the first place.

      Further, such liability would be inapposite to the protection offered to

legislators for the exact same reasons. In Brandhove, the Court held that the

“privilege would be of little value if [a protected person] could be subjected to the cost

and inconvenience and distraction of a trial upon the conclusion of the pleader, or to

the hazard of a judgment against them based upon a jury’s speculation as to motives.”

Brandhove, 341 U.S. at 377. The Court determined that “Courts are not the place for

such controversies[,]” but rather “self-discipline and the voters must be the ultimate



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reliance for discouraging or correcting such abuses.” Id. at 378. In Brandhove, the

Court limited its rationale to the facts before it, the plaintiff alleged that a state

legislator violated an individual’s constitutional right by intimating him into silence

through an improper exercise of legislative power, calling him to testify. Id. at 371.

The Court ultimately ruled that they could not find the committee exceeded the

bounds of the legislative power unless there is an “usurpation” of the executive or

judicial powers that is “obvious.” Id. at 378.

      In Imbler, the Court held that a prosecutor could not be held liable for those

against whom he brings charges but fails to convict. 424 U.S. 409, 423 (1976). The

Court went on to pronounce that the office of public prosecutor is such that it must

be administered with “courage and independence.” If such litigation were allowed,

the “apprehension of such consequences would tend to towards great uneasiness and

toward weakening the fearless and impartial policy which should characterize the

administration of this office.” Id. at 424. These principles are easily extended to the

present case.

      Here, President Trump is an elected official entitled to absolute immunity.

President Trump was engaged in the execution of his duties as President. Duties that

are solely determined by the person properly elected to that office. In this case, those

duties involved the use of his bully pulpit to ensure the faithful execution of the laws

of the United States and lobbying for proper legislative action to the same ends. The

office of President even more than the office of prosecutor requires the ability to act

boldly and fearlessly to carry out the duties of the office.



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        A holding that Plaintiffs can bring a suit of this subjective nature would

encourage political opponents to take their disputes out of the public square and the

halls of Congress and into courtrooms to punish a president for his disfavored speech.

The President’s absolute immunity forecloses the jurisdiction of this Court.5

   b.       The political question doctrine also bars the claims against President
            Trump.

        Similar to absolute immunity is the practical consideration expressed in the

political question doctrine. “The political question doctrine excludes from judicial

review those controversies which revolve around policy choices and value

determinations constitutionally committed for resolution to the halls of Congress or

the confines of the Executive Branch.” Japan Whaling Ass’n. v. Am. Cetacean Soc.,

478 U.S. 221, 230 (1986). There are several instances when the doctrine makes a case

nonjusticiable, including when there is a “textually demonstrable constitutional

commitment of the issue to a coordinate political department” and when it is

impossible to decide an issue without making “an initial policy determination of a




        5Even if President Trump was not covered by absolute immunity, as a
governmental actor, the claims against him would also be foreclosed by immunity
under the Westfall Act. See 28 U.S.C. § 2679(b). Westfall Act immunity applies to any
employee of the United States that commits or is accused of committing any tort while
acting within the scope of his employment. The United States shall be substituted as
the defendant under the doctrine of respondeat superior. Plaintiffs’ allegations arise
out of President Trump’s political speech, clearly within the scope of his employment,
(i.e., ensuring the faithful execution of the laws and carrying out his other
Constitutional duties). Moreover, even if those doctrines did not apply, President
Trump would be protected by qualified immunity, as no Court has previously held a
President liable for political speech. See Jones v. Kirchner, 835 F.3d 74, 84 (D.C. Cir.
2016). These immunities, of course, are narrower than the dispositive absolute
immunity arising directly from the Constitution.
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kind clearly for nonjudicial discretion.” Bancoult v. McNamara, 455 F.3d 427, 432

(D.C. Cir. 2006) (citing Baker v. Carr, 369 U.S. 186, 217 (1962)).

        Here, Plaintiffs seek declarations and damages against Mr. Trump based on

actions taken while he was acting in his official capacity as President of the United

States. See Am. Compl. at 48. Adjudication of such a claim based upon the words or

actions of the President would improperly regulate the executive department.

Moreover, adjudication of Plaintiffs’ claims would require the Court to make a value

determination about what is or is not proper for the President to say during a political

speech when advocating for governmental action. As previously discussed, such value

determinations of the content of speech are not appropriate for the judiciary. The

courts are not the branch constitutionally tasked with making “policy choices and

value determinations,” and they cannot serve to second-guess the President’s

judgments. Japan Whaling, 478 U.S. at 230.

        The impeachment managers chosen by the House of Representatives had a full

and fair opportunity to make their case at impeachment. They failed; President

Trump was acquitted by the United States Senate sitting as an Impeachment Court.

Its verdict was the final word on this matter. To hold otherwise would displace the

Senate as the final arbiter on the subject of impeachment, showing a disrespect for a

co-equal branch. As such, this Court should decline to adjudicate Plaintiffs’ claims.

   c.      The claims against President Trump are precluded by the Impeachment
           Judgement Clause, res judicata and collateral estoppel.

        Under the doctrine of res judicata, “a subsequent lawsuit will be barred if there

has been prior litigation (1) involving the same claims or cause of action, (2) between


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the same parties or their privies, and (3) there has been a final, valid judgment on

the merits, (4) by a court of competent jurisdiction.” Smalls v. United States, 471 F.3d

186, 192 (D.C. Cir. 2006) (citing Blonder-Tongue Lab’ys, Inc. v. Univ. of Ill. Found.,

402 U.S. 313, 323–24 (1971)). Under D.C. law, which forms the basis for most of the

Plaintiffs’ claims, a court will consider “(1) whether the claim was adjudicated finally

in the first action; (2) whether the present claim is the same as the claim which was

raised or which might have been raised in the prior proceeding; and (3) whether the

party against whom the plea is asserted was a party or in privity with a party in the

prior case” to determine whether a claim is barred by res judicata. Herrion v.

Children’s Hosp. Nat’l Med. Ctr., 448 F. App’x 71, 72 (D.C. Cir. 2011) (quoting

Calomiris v. Calomiris, 3 A.3d 1186, 1190 (D.C. 2010). While these tests are

formulated slightly differently, the core principles are that res judicata requires that

claims be barred if they arise from the same common nucleus of facts, if the prior case

resulted in a final judgment on the merits, and if the parties to the former litigation

are the same or are privies of those parties.

      “[T]he parties to a suit and their privies are bound by a final judgment and

may not relitigate any ground for relief which they already have had an opportunity

to litigate even if they chose not to exploit that opportunity whether the initial

judgment was erroneous or not.” Lewis v. Drug Enf’t Admin., 777 F. Supp. 2d 151,

161 (D.D.C. 2011), aff’d, 2012 WL 1155698 (D.C. Cir. 2012). See also Allen v.

McCurry, 449 U.S. 90, 94 (1980) (“Under res judicata, a final judgment on the merits

of an action precludes the parties or their privies from relitigating issues that were



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or could have been raised in that action.”). A Plaintiff alleging no new facts but simply

a new legal theory “is precisely what is barred by res judicata.” McIntyre v. Fulwood,

892 F. Supp. 2d 209, 216 (D.D.C. 2012) (quoting Apotex, Inc. v. FDA, 393 F.3d 210,

217–18 (D.C. Cir. 2004)).

   1.      All of Plaintiffs’ claims arise from the same common nucleus of facts.

        Plaintiffs’ claims arise out of the same operative facts as the claims addressed

in the Senate’s impeachment trial. That trial did not result in a conviction—despite

overwhelming political animus towards the President, the Senate acquitted the

President of the incitement to insurrection charge. The articles of impeachment

alleged that President Trump “willfully made statements that, in context,

encouraged—and foreseeably resulted in—lawless action at the Capitol[.]” 167 Cong.

Rec. H165 (daily ed. Jan. 13, 2021). These are the same charges that Plaintiffs bring

now, alleging violations of laws that have substantially the same language. See

Compl. ¶ 151 (alleging that President Trump’s words and actions amounted to

directing and ratifying assault and battery); ¶¶ 183, 197 (alleging that President

Trump’s words incited a riot and disorderly conduct); ¶ 220 (alleging that President

Trump’s words and conduct amount to a conspiracy to interfere with federal officials

performing their duties).

        Res judicata applies not only to the actual claims brought, but also to any

claims that could have been brought stemming from the same facts. See Allen, 449

U.S. at 94. The House of Representatives is tasked with “the sole power of

impeachment.” U.S. Const. Art. I, § 2, cl. 5. It had the opportunity to dream-up any

articles of impeachment and it chose to bring only one article for incitement to
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insurrection, alleging that the President’s First Amendment protected speech on

January 6, 2021, rose to the level of the types of “high crimes and misdemeanors” that

warrant removal from office. The Senate has “the sole Power to try all Impeachments”

but what level of proof is required to convict is determined by each individual Senator.

U.S. Const. Art. I, § 3, cl. 6. Even under this lower standard of proof, and despite only

needing a two-thirds vote to convict—a potentially lower bar than the President faces

in this case—it failed to do so. The failure to bring additional claims does not permit

parties or their privies to bring later litigation stemming from the same events,

otherwise no judgment would ever truly be final.

   2.      Plaintiffs are in privity with Congress.

        The Capitol Police is an agency under the legislative branch whose interests

were adequately represented during the Senate’s impeachment trial, which was

predicated on the same nucleus of alleged facts that Plaintiffs bring here.

        A “privy” is one “so identified in interest with a party to former litigation that

he represents precisely the same legal right in respect to the subject matter involved.”

Jefferson Sch. of Soc. Sci. v. Subversive Activities Control Bd., 331 F.2d 76, 83 (D.C.

Cir. 1963). “The government, its officers, and its agencies are regarded as being in

privity for claim-preclusive purposes.” McIntyre, 892 F. Supp. 2d at 215 (quoting

Wilson v. Fullwood, 772 F. Supp. 2d 246, 263 (D.D.C. 2011)). See also Sunshine

Anthracite Coal Co. v. Adkins, 310 U.S. 381, 402–03 (1940) (“There is privity between

officers of the same government so that a judgment in a suit between a party and a

representative of the United States is res judicata in relitigation of the same issue

between that party and another officer of the government.”).
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      In essence, the House of Representatives’ impeachment managers, serving in

roles similar to prosecutors or plaintiffs, represented the interests of all the parties

involved in the events that supported the article of impeachment brought against the

President. Plaintiffs’ claims are predicated on injuries they sustained from the

actions of individuals at the Capitol, which the House blamed on President Trump.

The Senate, tasked with hearing the evidence and passing a final judgment on the

matter, did not find that President Trump’s First Amendment protected speech rose

to the level of incitement. The Senate, sitting as an Impeachment Court under an

oath to the Constitution, issued a final judgment acquitting the President of the

incitement to insurrection charge thus precluding any parties or their privies who

could have brought claims from relitigating the matter. Indeed, Plaintiffs could not

have charged the President in a civil lawsuit for the claims they now attempt to bring

because of absolute presidential immunity from claims for damages resulting from

official acts. See Vance, 140 S. Ct. at 2426. The House was the only party that could

bring the claim and the Senate was the only court which could hear the claims. As

such, the House was the relevant party bringing the suit and it adequately

represented the interests of the Capitol Police, a legislative agency tasked with

protecting Congress so that its members may carry out their legislative duties. This

relationship makes the Capitol Police privies of the House and bars their attempts to

bring these particular claims against the President.




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   3.      The Senate’s Impeachment trial is a final judgment on the merits issued by
           a court of competent jurisdiction.

        Res judicata requires that a court of competent jurisdiction issue a final

judgment on the merits for that decision to preclude future lawsuits stemming from

the same facts. The Constitution in Article I, § 3, cl. 6 specifically designates the

Senate to sit as an Impeachment Court, which means that it qualifies as a court of

competent jurisdiction, tasked with examining the articles presented by the House in

the manner of a judge. See Nixon v. United States, 506 U.S. 224, 229–30 (1993)

(analyzing the definition of “try” as used in the Constitution to reach the conclusion

that the Framers did not intend to impose additional limitations on impeachment

trial procedure beyond requiring that “Members must be under oath, a two-thirds

vote is required to convict, and the Chief Justice presides when the President is

tried”).

        Once the Senate has decided a case as an Impeachment Court, it is necessary

to treat that decision with finality. See Kevin Foley, Availability of Tolling in A

Presidential Prosecution, 168 U. Pa. L. Rev. 1789, 1799–800 (2020) (describing that

the impeachment process is better suited for prosecuting the President for numerous

factors among which is the finality of the lack of an appeal) (citing A Sitting

President’s Amenability to Indictment and Criminal Prosecution, 24 Op. O.L.C. 222,

258-60 (2000)); Nixon, 506 U.S. at 236 (discussing the necessity of the finality of the

Senate’s judgment after an impeachment because “opening the door of judicial review

to the procedures used by the Senate in trying impeachments would ‘expose the

political life of the country to months, or perhaps years, of chaos.’”) (citing Nixon v.


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United States, 938 F.2d 239, 246 (1991)). This is especially true because the Senate

is the sole court that can pass judgment on impeachment. See U.S. Const. Art. I, § 2,

cl. 6. “The commonsense meaning of the word ‘sole’ is that the Senate alone shall have

authority to determine whether an individual should be acquitted or convicted.”

Nixon, 506 U.S. at 230–31. If the courts were permitted to review the processes and

decisions of the Senate, this would compromise the Senate’s ability to

“‘function[] . . . independently and without assistance or interference.’” Id. (citing

Webster’s Third New International Dictionary 2168 (1971)).

        The one exception to the finality of judgment of the Senate respects an

individual impeached and convicted. “[T]he Framers recognized that most likely

there would be two sets of proceedings for individuals who commit impeachable

offenses—the impeachment trial and a separate criminal trial.” Nixon, 506 U.S. at

234. “[T]he Constitution explicitly provides for two separate proceedings.” Id. (citing

U.S. Const. Art. I, § 3, cl. 7). The Court explained that the separation of the two

forums was a deliberate move by the Framers to “avoid raising the specter of bias and

to ensure independent judgments.” Nixon, 506 U.S. at 234 (citing The Federalist No.

65, p. 442 (J. Cooke ed. 1961)). In this case, however, the Senate acquitted President

Trump. That acquittal by the Senate is a final judgment on the merits and precludes

this court from exercising jurisdiction.

   4.      Statutory construction of the Impeachment Judgment Clause shows that
           only an individual convicted is subject to follow-on litigation, and only for
           criminal offenses.

        The Impeachment Judgment Clause, U.S. Const. Art. I, § 3, cl. 7, states that

judgment “shall not extend further than to removal from Office, and disqualification
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to hold and enjoy any Office of honor, Trust or Profit under the United States: but the

Party convicted shall nevertheless be liable and subject to Indictment, Trial,

Judgment and Punishment, according to Law.” Two aspects of this clause stand out.

First, the only provision for follow-on liability is for a party convicted. The Framers

could have written the party “tried” or the party “impeached,” but the ultimate

wording was limited to the party convicted. This alone should make clear that an

individual impeached but not convicted shall not be subject to follow-on litigation.

      Second, the clustering of post-conviction liability for “Indictment, Trial,

Judgment and Punishment, according to Law” leads with “Indictment,” which implies

that an individual convicted is only potentially liable for follow on criminal charges

brought by the government rather than a civil suit on the same issues. The Framers

were familiar with the concept of res judicata and collateral estoppel. See Crist v.

Bretz, 437 U.S. 28, 40–41 (1978) (describing that “the constitutional guarantee

against double jeopardy was restricted to cases in which there had been a complete

trial—culminating in acquittal or conviction. . . . This was consonant with the

prevailing English practice regarding pleas in bar”). Recognition of the need to

prevent repetitive suits is definitively expressed in the Constitution, which prohibits

anyone from being “subject for the same offense to be twice put in jeopardy of life or

limb.” U.S. Const. amend. V. The Constitution then explicitly carves out an exception

for this commonly understood prohibition against being subject to judgment more

than once for the same claim only in cases where an individual is impeached and

convicted. But an individual will not be subject to judgment in all cases—the



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Constitution again limits the liability to indictment, trial, judgment, and

punishment. Indictments are only issued for criminal offenses, not for civil lawsuits.

The process of the impeachment trial is deemed a final judgment on the merits, but

it will not prevent the individual convicted of a high crime or misdemeanor from

facing judgment in a court of law for the crime in question. This makes sense because

the Senate cannot bring a criminal charge against an individual impeached—only the

executive branch can bring litigation to enforce the laws of the United States.

Through being granted the power of impeachment, Congress was given an important

check on the Executive and Judicial Branches, who could not have been trusted to

prosecute and try themselves. Once removed from office, those individuals could then

be properly tried in the courts of law.

         President Trump was not convicted on the impeachment charge brought

against him. Because he is not a party convicted, he is not liable to be subject to

further litigation on a matter already decided.

   II.      Well-established First Amendment law bars Plaintiffs’ claims based on
            President Trump’s political speech.

         An individual’s rights to speak, assemble, and petition the government for

redress of grievances are afforded the strongest presumption against infringement.

See Members of City Council of City of Los Angeles v. Taxpayers for Vincent, 466 U.S.

789, 816 (1984) (“[P]olitical speech is entitled to the fullest possible measure of

constitutional protection.”). “[S]peech on ‘matters of public concern’ . . . is ‘at the heart

of the First Amendment’s protection.’” Snyder v. Phelps, 562 U.S. 443, 451-52 (2011)

(quoting Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 758-59

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(1985)). The First Amendment reflects “a profound national commitment to the

principle that debate on public issues should be uninhibited, robust, and wide-open.”

Snyder, 562 U.S. at 452. That is because “speech concerning public affairs is more

than self-expression; it is the essence of self-government.” Id. Accordingly, “speech on

public issues occupies the highest rung of the hierarchy of First Amendment values

and is entitled to special protection.” Id. “The primary question is whether the

message conveyed . . . was of such a nature as to come within the ambit of the First

Amendment Protection, or whether it must be placed in the categories of speech

which the Supreme Court has held are not protected.” Allen v. District of Columbia,

187 A.2d 888, 889 (D.C. 1963) (citing Chaplinsky v. New Hampshire, 315 U.S. 568

(1942)).

      At least for Plaintiffs’ District of Columbia state law claims of incitement to

riot and disorderly conduct, the “[defendant’s] conduct, and not the crowd’s reaction

to it, must be the starting point, for ‘the measure of the speaker is not the conduct of

his audience.’” Allen, 187 A.2d at 889 (quoting Rockwell v. Morris, 12 A.D.2d 272, 279

(N.Y. Sup. Ct. 1961)). Therefore, the “[a]udience reaction, and the immediacy of the

disorder, become significant elements of proof only after the speaker ‘passes the

bounds of argument or persuasion and undertakes incitement to riot.’” Allen, 187

A.2d at 889 (citing Feiner v. New York, 340 U.S. 315, 321 (1951)). Here, President

Trump’s speech did not surpass any reasonable standard for the bounds of argument

and persuasion commonly used by politicians.




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   a. President Trump’s speech was petitioning activity undertaken in his official
      capacity.

      The speech that President Trump gave on January 6, 2021, regarding the 2020

Presidential Election is certainly on matters of public concern. As President, it is his

duty to ensure that the laws are faithfully executed, and he had valid concerns about

the integrity of the November election results. Allegations of election interference

were more than welcome by politicians and the media in 2000, 2004, and 2016 when

they were being voiced by Maxine Waters, Jerrold Nadler, Barbara Lee, Stacy

Abrams, and Hillary Clinton. In 2020, President Trump was decried for voicing

concerns with the massive changes to state election procedures that brought

uncertainty into the security of the election procedures.

      State legislatures are charged with setting the election process in every state,

but the President has every right to question whether procedures were being followed

and were secure. Indeed, dialog between the political branches of government and the

several states on such issues is at the core of federalism and the checks and balances

that are the heart and soul of the constitutional framework developed by the

founders. Questioning the propriety of the election was part of the President’s duty

to uphold and defend the Constitution. At the very least, his discussion of the matter

while attempting to petition the government to redress his grievance was a matter of

public concern cloaked with the highest presumption of protection. It clearly does not

meet the standards described by the Supreme Court for when speech may be

restricted without violating the First Amendment.




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   b.      President Trump’s speech does not meet the standard for incitement under
           Brandenburg v. Ohio.

        At numerous points throughout the amended complaint, Plaintiffs allege that

President Trump incited and provoked individuals at the Ellipse and via social media

(see Compl. ¶¶ 10, 40, 116, 212, 226) by voicing his concerns over the legitimacy of

the elections and petitioning for the Vice President to not certify the election. From

these allegations, they ascribe liability for the subsequent actions of individuals at

the Capitol. President Trump’s speech clearly articulated his desire for those who

believed as he did to “peacefully and patriotically make [their voices] heard” at the

Capitol where the election certification was going to take place. At no point during

the speech was there any advocacy for violence or unlawful activity. Retrospectively

assuming a speaker’s intent based upon the actions of others is not a constitutionally

acceptable method of pleading an unlawful incitement. See Brandenburg v. Ohio, 395

U.S. 444, 449 (1969).

        One cannot have negligent liability for incitement—intent on the part of the

speaker is a required element of a plaintiff’s claim. A holding that an individual can

be liable for incitement based on how others interpreted his speech would blur “the

distinction between advocacy and incitement.” Morse v. Frederick, 551 U.S. 393, 442

(2007) (Stevens, J., dissenting). The Supreme Court rejected such an interpretation

because this “would ‘pu[t] the speaker in these circumstances wholly at the mercy of

the varied understanding of his hearers and consequently of whatever inference may

be drawn as to his intent and meaning.’” Id. at 442–43 (quoting Thomas v. Collins,

323 U.S. 516, 535 (1945)).


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        The right to protest was continually referred to in the media this past year as

a central part of our functioning Republic—even when the protests that were being

encouraged in cities throughout the country were clearly turning violent and putting

Americans’ lives and property in jeopardy. A finding that President Trump’s speech

is not protected by the First Amendment would open the floodgates to liability for any

individual if another person committed unlawful conduct and claimed to be under the

influence of that individual’s political speech, cluttering the dockets of the district

courts and incentivizing using courts as a weapon against political opponents.

   c.      Incitement is limited to true threats and a holding to the contrary would
           subject anti-riot laws to facial challenges.

        As the Supreme Court has recognized, the “mere tendency of speech to

encourage unlawful acts is not a sufficient reason for banning it.” Ashcroft v. Free

Speech Coal., 535 U.S. 234, 253 (2002). After all, “mere encouragement is

quintessential protected advocacy” under the First Amendment. United States v.

Miselis, 972 F.3d 518, 536 (4th Cir. 2020). Indeed, the Fourth Circuit has held that

an Anti-Riot Act that “proscribes speech tending to ‘encourage’ or ‘promote’ a riot, as

well as speech ‘urging’ others to riot or ‘involving’ mere advocacy of violence” was

overbroad under Brandenburg and swept up too much protected speech to be

constitutional. Miselis, 972 F.3d at 540. If the courts can conclude that urging others

to riot or directly advocating for violence cannot incur liability under the First

Amendment, the allegations that Plaintiffs have made here are surely insufficient.

Otherwise, D.C.’s Anti-Riot statute would be subject to a facial challenge as sweeping

in too much protected speech under the Supreme Court’s analysis in Brandenburg,


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395 U.S. at 447, which permits advocacy of the use of force except in limited

circumstances where the speech both is intended to incite imminent lawless action

and has a high likelihood of inciting imminent lawless action.

   d.      Plaintiffs’ reading of § 1985 and argument for liability would result in such
           expansive liability to subject the statute to a facial challenge.

        If Plaintiffs are allowed to bring this claim under § 1985, any time that there

is a standoff between the political branches that involves fiery speech, it could be

construed as an unlawful conspiracy. This could make the statute subject to a facial

challenge for being overbroad or void for vagueness. The overbreadth doctrine allows

facial challenges to boundless statutes to prevent the chilling of First Amendment

speech. See Secretary of State of Md. v. Joseph H. Munson Co., Inc., 467 U.S. 947,

958 (1984). The void for vagueness doctrine ensures that citizens are on notice of what

a statute proscribes and also guards against arbitrary or discriminatory enforcement.

See Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018).

        Should Plaintiffs’ construction of § 1985 be adopted, it would lead to a

boundless statute that would essentially hold politicians vicariously liable for the

actions of their supporters, substantially chilling critically important political speech.

Moreover, the broad and vague prescriptions of the statute would encourage selective

enforcement, inevitably based upon the political affiliations of the enforcer. Simply

put, Plaintiffs’ proposed interpretation of the statute provides no way to draw clear

lines, requiring that they be struck down as facially invalid.

        But this historic statute need not be endangered. A conspiracy under § 1985(1)

should not be read so broad as to broadly apply to all tortious interferences with the


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rights of others. See Griffin v. Breckenridge, 403 U.S. 88, 101 (1971) (discussing the

legislative history of the statute, specifically as it applied to § 1985(3)). Indeed, a plain

reading of the word “conspiracy” in the statute requires that the Court limit its

application to specific agreements to interfere with the acceptance or performance of

an officers’ duties through an unlawful act. Ergo, an agreement to engage in lawful

political speech and assembly with others is no conspiracy at all; there must be an

actual agreement to perform an overt act that extends beyond protected political

speech. See McFadden v. U.S., 576 U.S. 186, 197 (2015) (requiring that avoidance be

used only when courts must choose between competing plausible interpretations).

And as with any conspiracy allegation, proof of the actual agreement is key to

surviving a motion to dismiss. Plaintiffs here do not meet that required pleading

standard.

       As President Trump’s speech is protected under the First Amendment, and all

the claims against him stem directly and solely from his political speech, this Court

should dismiss the Plaintiffs’ Amended Complaint in its entirety.

   III.     Plaintiffs do not adequately plead a conspiracy under § 1985, much less the
            higher pleading standard required for an allegation of civil conspiracy.

       To state a claim upon which relief may be granted, Plaintiffs are charged with

pleading their Amended Complaint so that it plausibly lays out a legally recognized

case against Defendants. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 549 (2007). While

they need not include “detailed factual allegations,” they must do more than state an

unadorned “the-defendant-unlawfully-harmed-me” accusation. Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 555). A pleading that offers “labels

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and conclusions” or “a formulaic recitation of the elements of a cause of action will

not do.” Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 555. Nor does a complaint suffice

if it tenders “naked assertion[s]” devoid of “further factual enhancement.” Iqbal, 556

U.S. at 678; Twombly, 550 U.S. at 557. Moreover, Plaintiffs’ conspiracy allegations

must be pled with particularity. See Gometz v. Culwell, 850 F.2d 461, 464 (7th Cir.

1988); McCord v. Bailey, 636 F.2d 606 (D.C. Cir. 1980).

   a. Plaintiffs do not allege a violation of 42 U.S.C. § 1985(1).

       Plaintiffs’ claims against President Trump under § 1985 are contingent upon

a finding that President Trump conspired to interfere with the duties of a federal

officer as described in § 1985(1). Neither members of Congress nor Vice President

Pence, whom the Plaintiffs allege in ¶ 222 were the individuals prevented by force,

intimidation, and threats from discharging their duties, are federal officers for

purposes of § 1985(1). An officer of the United States is one who “holds his place by

virtue of an appointment by the president, or of one of the courts of justice or heads

of departments authorized by law to make such an appointment.” United States v.

Mouat, 124 U.S. 303, 307 (1888). Additionally, as the Supreme Court explained in

2010, “[t]he people do not vote for the ‘Officers of the United States.’ U.S. Const. Art.

II, § 2, cl. 2. They instead look to the President to guide the ‘assistants or

deputies . . . subject to his superintendence.”’ Free Enter. Fund v. Pub. Co.

Accounting Oversight Bd., 561 U.S. 477, 498 (2010) (quoting, The Federalist No. 72,

p. 487 (J. Cooke ed. 1961) (A. Hamilton)). Furthermore, the Appointments Clause

makes it clear that the President appoints the Officers of the United States. See U.S.

Const. Art. II, § 2, cl. 2.
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       The Constitution makes clear that members of Congress are not office holders

“under . . . the United States.” 42 U.S.C. § 1985(1). The Ineligibility Clause

specifically states that “no person holding any Office under the United States, shall

be a member of either House during his Continuance in Office.” U.S. Const. Art. I,

§ 6, cl. 2. Ergo, a member of Congress is not in an office under the United States,

otherwise the Constitution would state that they could not hold more than one such

office. In defining an office of the United States, the United States Court of Claims

defined it as a “public station or employment established or authorized by Congress

and conferred by appointment of the Government.” Dalton v. U.S., 71 Ct. Cl. 421, 425

(1931).

       Neither do members of Congress hold a position of trust or a place of confidence

under the United States. The Constitution specifically delineates between senators,

representatives, and those holding an office of trust or profit under the United States

when it prohibits any of the above from serving as electors. U.S. Const. Art. II, § 1,

cl. 2. In common law, an office of trust or profit referred exclusively to those in the

employ in the executive, judiciary, or the church. See Benjamin Cassady, “You’ve Got

Your Crook, I’ve Got Mine”: Why the Disqualification Clause Doesn’t (Always)

Disqualify, 32 Quinnipiac L. Rev. 209, 279 (2014). English statutes applied the term

to offices conferred by the Crown, not by Parliament. Id. (citing Test Act of 1673, 25

Car. II, c. 2 (U.K.)).

       There are few examples of those who hold a place of confidence under the

United States. A district court has applied that term to state court judges since they



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decide federal constitutional issues and are bound by federal law. See Lewis v. News-

Press & Gazette, 782 F. Supp. 1338, 1342 (W.D. Mo. 1992). Other authority suggests

that all the categories listed in Section 1 are limited to those who carry out and apply

the law. See Stern v. U.S. Gypsum, Inc., 547 F.2d 1329, 1337 (7th Cir. 1977)

(explaining the statutory history of § 1985(1) and concluding that the purpose of the

legislation was to protect the “federal interest in the carrying out of federal

functions”). However, given the previously discussed limitation that officers of the

United States are those who are appointed by the President, the fact that the Vice

President is elected with the President prevents a finding that he is an officer.

      One thing is clear: the Congress that adopted the statute could very well have

clearly made it applicable to the legislative branch and to the President and Vice

President. But it did not. Indeed, if the statute did apply as broadly as the Plaintiffs

allege, any time that Congress and the President disagreed politically it could incur

liability on either party in the courts of law if their bombastic rhetoric or conduct

could be perceived as a threat to the other. Plaintiffs do not have a cause of action

under § 1985(3) because neither the members of Congress nor Vice President Pence

qualify as individuals with whom interference of their duties gives rise to a cause of

action under § 1985(1). As such, count seven must be dismissed.

   1. Plaintiffs do not adequately allege that President Trump caused the events of
      January 6.

      Plaintiffs have not alleged that President Trump took any action other than

his protected speech to cause the alleged events in their Amended Complaint.

Plaintiffs have woven their own story in an attempt to implicate President Trump in


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a plot between individuals unrelated and distant from President Trump and the

opportunistic people in the District of Columbia that joined them on that fateful day.

      President Trump’s speech, in addition to being protected, was far removed from

the Capitol. He spoke to his fellow citizens at the Ellipse. Further, President Trump’s

language both during the speech and subsequent to the speech indicates that he

wanted his supporters to remain peaceful. See Am. Compl. ¶ 118 (President Trump’s

tweet urging people to “support our Capitol Police and Law Enforcement” and “[s]tay

peaceful!”), ¶ 127 (President Trump’s tweet telling people to “[g]o home with love &

in peace”). The protestors’ and rioters’ lack of obedience clearly demonstrates that

President Trump did not have control over their actions and was not directing them,

nor was he the one that incited them. The HSAG Report also indicates that there

were organizations and individuals planning to get involved in the events at the

Capitol ahead of time. President Trump’s words and actions, however, show that he

wanted nothing more than an effective, peaceful, and patriotic demonstration in

support of election integrity.

   b. Plaintiffs fail to plead the elements of civil conspiracy.

      “The elements of a civil conspiracy are: ‘(1) an agreement between two or more

persons; (2) to participate in an unlawful act, or a lawful act in an unlawful manner;

(3) an injury caused by an unlawful overt act performed by one of the parties to the

agreement; (4) which overt act was done pursuant to and in furtherance of the

common scheme.’” Mensah-Yawson v. Raden, 170 F. Supp. 3d 222, 230 (D.D.C. 2016)

(quoting Halberstam v. Welch, 705 F.2d 472, 477 (D.C. Cir. 1983)). Making a “bare

assertion[] of the existence of an agreement among the conspirators cannot sustain a
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conspiracy claim.” Id. To sustain a common law civil conspiracy claim, a plaintiff must

allege the existence of “events, conversations, or documents indicating . . . an

agreement or ‘meeting of the minds’ between [defendants].” McCreary v. Heath, 2005

WL 3276257, at *5 (D.D.C. Sept. 26, 2005). Plaintiffs do not meet this bar, as they

only allege that President Trump spoke, and others responded. See Am. Compl. ¶ 14

(alleging that President Trump directed and therefore conspired with the Proud Boys

by making a statement on national television that their group should “stand back”);

¶ 33 (alleging that President Trump calling for his supporters to attend a political

rally/protest was a “literal call to arms”—unlike all the other protests held by any

other political group that are presumed peaceful by media despite evidence to the

contrary); ¶ 37 (alleging that communication by a member of the Proud Boys with a

cell phone number from the White House is sufficient to establish that the individual

was Trump).

         Plaintiffs fail to meet this high pleading standard. Their claim should be

dismissed.

   IV.      Plaintiffs fail to state a claim upon which relief may be granted for any
            District of Columbia claim.

         Plaintiffs have brought three claims against President Trump based on alleged

District of Columbia law violations in addition to the incitement to riot and disorderly

conduct claims explicitly precluded by President Trump’s freedom of speech. Each of

these claims fails because Plaintiffs’ arguments are precluded by President Trump’s

absolute presidential immunity, the principles of res judicata and President Trump’s

First Amendment rights to freedom of speech, petition for redress of grievances, and

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freedom of association. Even if the claims for assault and battery and intentional

infliction of emotional distress were not precluded, Plaintiffs have failed to plead their

case as required.

   a. Plaintiffs fail to establish that President Trump aided and abetted or “directed”
      any action.

      Plaintiffs have brought claims for both “directing” and aiding and abetting

different crimes. Specifically, “directing” and ratifying assault, aiding and abetting

assault, and “directing” intentional infliction of emotional distress. Under D.C. law,

aiding and abetting has a similar standard to that of conspiracy, but even though

courts and litigants commonly blur the lines, each has a unique standard. The D.C.

Circuit has previously held that the “prime distinction” between the standards is that

a conspiracy is about an “agreement to participate in a wrongful activity” while aiding

and abetting is about “substantial assistance.” Halberstam v. Welch, 705 F.2d 472,

478 (D.C. Cir. 1983). This distinction and others are critical in determining liability

when a specific charge is brought. “For example . . . liability may be based on a more

attenuated relation with the principal violation in a conspiracy than in aiding and

abetting.” Id. at 485.

      To state a claim for aiding and abetting, a plaintiff must show: “(1) the party

whom the defendant aids must perform a wrongful act that causes an injury; (2) the

defendant must be generally aware of his role as party of an overall illegal or tortious

activity at the time that he provides the assistance; (3) the defendant must knowingly

and substantially assist the principal violation.” Halberstam, 705 F.2d at 477 (citing

Investors Research Corp. v. SEC, 628 F.2d 168, 178 (D.C. Cir. 1980)).

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      In practice, the key consideration for liability under an aiding and abetting

theory is “how much encouragement or assistance is substantial enough.” Id. at 478.

The Restatement provides five factors for making this determination: “the nature of

the act encouraged, the amount of assistance given by the defendant, his presence or

absence at the time of the tort, his relation to the other [tortfeasor] and his state of

mind.” Id. (citing Restatement (Second) of Torts § 876 (Am. L. Inst. 1979)). In

Halberstam, the D.C. Circuit took time to distinguish what it termed “pure” aiding

and abetting cases from those that it considered to be also arguably conspiracy cases.

Id. at 481. Such examples set this case in stark contrast to any “pure” aiding and

abetting case. Citing Rael v. Cadena, 604 P.2d 822 (1979), the D.C. Circuit points out

that the usual aiding and abetting case involved explicit encouragement of an action

such as “verbal encouragement (‘Kill him!’ and ‘Hit him more!’) to an assailant.” Id.

      Plaintiffs apparently seek to hang their hat on the language of Halberstam

when they claim that “through his words” President Trump “planted the seeds to

create a public disturbance” and “planted the seeds that made likely the violence.”

Am. Compl. ¶¶ 185, 197. In Halberstam, the D.C. Circuit did note that “[s]uggestive

words may also be enough to create joint liability when they plant the seeds of action

and are spoken by a person in an apparent position of authority.” Id. at 481–82.

Plaintiffs, however, misinterpret Halberstam. Their claims in support appear to be

that President Trump: (1) encouraged the future actions with his rhetoric thereby

planting the seeds, and (2) enjoyed the outcome and supported it. The court in

Halberstam explicitly rejected the latter as a consideration, and the case erodes


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Plaintiffs’ arguments on the former. Halberstam pointedly showed that approval of

the actions, taking pleasure in them, and even supporting them without further aid

would not be sufficient to create liability. Id. at 483 (citing Duke v. Feldman, 226 A.2d

345 (Md. 1967)).

      Taking the factors from the Restatement and the additional factor from

Halberstam one at a time, it becomes clear that President Trump did not aid and abet

any action at the United States Capitol on January 6, 2021. First, the nature of the

act encouraged. Plaintiffs bring several claims each unique in some regard, but they

boil down to three main allegations: (1) President Trump incited assaults on

individual Plaintiffs, (2) President Trump incited the infliction of emotional distress

on Plaintiff Blassingame, and (3) President Trump incited the intimidation of

Members of Congress and Vice President Pence. Each of these revolves only around

the speech of President Trump, protected on other grounds and also insufficient to

establish liability in this case. District of Columbia caselaw recognizes that the

nature of the offense in relation to the aiding and abetting is key. Here, President

Trump spoke, admonishing the crowd to be peaceful, well before any violence was

conducted by anyone listening to his speech. There is little temporal connection

compared to aiding and abetting cases commonly cited based on speech when a person

acts during or immediately after the speech.

      The second factor is the amount of assistance given by the defendant. Plaintiffs

tacitly admit that President Trump provided no assistance. He was not even present

at the time of the conduct, nor did he provide any equipment, information, or any



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other kind of assistance. Plaintiffs’ claims are solely based on President Trump’s

speech. President Trump’s speech can be of minimal assistance to Plaintiffs’ case as

he explicitly admonished the crowd to be peaceful.

      Third, the defendant’s presence or absence at the time of the tort. As discussed

previously and admitted by Plaintiffs several times, President Trump was not present

at the United States Capitol at any time on January 6, 2021.

      Fourth, the defendant’s relation to the other tortfeasors. Plaintiffs also admit

that President Trump has no relationship with the tortfeasors in this case. They may

be supporters of President Trump, but they are not persons known to President

Trump.

      Fifth, the defendant’s state of mind. Plaintiffs allege that President Trump

took pleasure in the news coverage of the events on January 6, 2021. But Plaintiffs

even admit that President Trump took several actions to try to stop the actions on

January 6. See Am. Compl. ¶ 118 (showing President Trump’s tweet asking people to

“[s]tay peaceful!”), ¶ 155 (explaining that President Trump made statements in the

late afternoon). They do not otherwise allege anything as to state of mind. As

Halberstam clearly stated, taking pleasure in something does not constitute aiding

and abetting. See Halberstam, 705 F.2d at 483.

      Sixth and finally, as Halberstam held, the duration of the assistance also

weighs heavily on the determination. Here, President Trump’s supposed assistance

was brief and consisted of sporadic tweets and speeches. President Trump’s

relationship to the true damages in this case is tangential and tenuous at best.



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Therefore, as Halberstam points out, conspiracy would have been the stronger

argument as “liability may be based on a more attenuated relation with the principal

violation in a conspiracy than in aiding and abetting.” Id. at 485. Plaintiffs also have

been unable to sufficiently plead a conspiracy claim, as discussed at length above.

      Furthermore, President Trump was not aware of any plan or his role in those

plans. Plaintiffs have not credulously alleged any knowledge on behalf of President

Trump. Plaintiffs also have not alleged that President Trump knowingly and

substantially assisted in the principal violations. Plaintiffs have not alleged President

Trump was even involved in the principal violations at the United States Capitol.

      Moreover, Plaintiffs allege that President Trump directed or ratified several

crimes “by his words and conduct”. Am. Compl. ¶ 153. Plaintiffs also allege that

President Trump had influence over the individuals who caused their harms and

should be held liable because he did not attempt to stop the ongoing events at the

Capitol. Am. Compl. ¶ 154. Yet Plaintiffs have not satisfactorily answered how

President Trump could be “directing” these actions when the persons taking the

actions were not listening to him—President Trump explicitly requested that

protestors be peaceful, he explicitly asked them to respect law enforcement, and he

explicitly asked them to leave the Capitol. See Am. Compl. ¶ 118 (President Trump’s

tweet urging people to “support our Capitol Police and Law Enforcement” and “[s]tay

peaceful!”), ¶ 127 (President Trump’s tweet telling people to “[g]o home with love &

in peace”). That protestors that were responsible for any injuries to Plaintiffs failed




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to comply with the President’s requests, demonstrates that President Trump did not

have control over their actions and was not directing them.

      To sustain their claim that President Trump directed or ratified the assault

and battery, Plaintiffs would have to allege facts proving that an agency relationship

exists between President Trump and the individuals who caused Plaintiffs’ harm.

They have not done so. “An agency relationship requires the existence of three

elements: (1) the principal must manifest a desire for the agent to act on the

principal’s behalf; (2) the agent must consent to act on the principal’s behalf; and

(3) the principal must have the right to exercise control over the agent with respect

to matters entrusted to the agent.” Kaiser Grp. Int’l, Inc. v. World Bank, 420 F. App’x

2, 5 (D.C. Cir. 2011) (citing Transamerica Leasing, Inc. v. La Republica de Venezuela,

200 F.3d 843, 849 (D.C. Cir. 2000)). “An essential element of agency is the principal’s

right to control the agent’s actions.” Hollingsworth v. Perry, 570 U.S. 693, 713 (2013)

(citing 1 Restatement (Third) of Agency § 1.01, cmt. f (Am. L. Inst. 2005)). Directing

or ratifying assault or battery is usually claimed against employers whose employees

committed the assault or battery while acting within the scope of their employment.

See, e.g., Maniaci v. Georgetown Univ., 510 F. Supp. 2d 50, 64 (D.D.C. 2007) (finding

Plaintiffs adequately plead a theory of direct liability against employer University

because University officials ratified employees’ conduct by directing and controlling

their actions and then doing nothing to stop the tortious conduct).

   Therefore, President Trump was not engaged in a conspiracy, nor was he aiding

and abetting or “directing” any crime, especially assault. While Plaintiffs injuries are



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appalling, President Trump is not the party responsible for them. Plaintiffs should

pursue their remedies against the people responsible for their injuries.

   1. Plaintiffs fail to state a claim against President Trump for assault or battery.

         To establish an assault under District of Columbia law, a plaintiff must show

three elements: (1) “an act on the part of the defendant,” (2) “at the time the

defendant commits the act, he or she must have the apparent present ability to injure

or frighten the victim,” and (3) “at the time the act is committed, the defendant must

have the intent to perform the act which constitutes the assault.” Parks v. U.S., 627

A.2d 1, 5 (D.C. 1993) (citing Williamson v. United States, 445 A.2d 975, 978 (D.C.

1982).

         As discussed above, the Restatement factors for aiding and abetting and

agency liability do not apply to President Trump under these charges. President

Trump was not present during the alleged assaults and batteries, nor did he condone

or ratify the conduct. In fact, President Trump multiple times asked for peace and

calm. President Trump was not present at the time of any of the alleged assaults or

batteries, nor was he strongly temporally linked to the assaults. President Trump

specifically spoke to the individuals at the Ellipse, who according to the cell phone

data cited by Plaintiffs did not arrive at the Capitol for hours after the speech. This

left plenty of time for them to cool off and consider their actions even if President

Trump’s words had not explicitly admonished them to be peaceful.




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   2. Plaintiff Blassingame fails to state a claim against President Trump for
      intentional infliction of emotional distress.

       To state a claim for intentional infliction of emotional distress Plaintiff must

plausibly plead facts showing “(1) extreme and outrageous conduct on the part of the

defendant[], which (2) intentionally or recklessly (3) causes the plaintiff severe

emotional distress.” Competitive Enter. Inst. v. Mann, 150 A.3d 1213, 1260 (D.C.

2016). “The standard for ‘extreme and outrageous conduct’ is exceptionally

demanding. ‘Conduct is considered “extreme and outrageous” when it is “so

outrageous in character and so extreme in degree, as to go beyond all possible bounds

of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

community.”’ Bonner v. S-FER Int’l, Inc., 207 F. Supp. 3d 19, 25 (D.D.C. 2016).

Insults, threats, and indignities are insufficient for meeting this rigorous standard.

Id. The harm suffered by a plaintiff must include severe emotional distress, “of so

acute a nature that harmful physical consequences are likely to result.” Mann, 150

A.3d at 1261.

      Plaintiffs have not and cannot meet this high standard. As an initial matter,

they have pled political speech by Defendants they apparently found distasteful.

Then they pled that they were assaulted by individuals that have no affiliation or

relationship with President Trump. Finally, they alleged that these same assaulters

used a racial slur against him. President Trump is in no way responsible for the

actions or language used by others, as vile as they might be. These pleadings do not

and cannot meet the rigorous standard for extreme and outrageous conduct against

President Trump.


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                                  CONCLUSION

      For the foregoing reasons, President Trump respectfully requests this Court

dismiss Plaintiffs’ Amended Complaint in its entirety with prejudice.


      Dated: June 24, 2021                         Respectfully submitted,



                                                   /s/ Jesse R. Binnall
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                           CERTIFICATE OF SERVICE

      I certify that on June 24, 2021, a copy of the foregoing was filed with the Clerk

of the Court using the Court’s CM/ECF system, which will send a copy to all counsel

of record.



Dated: June 24, 2021                                 /s/ Jesse R. Binnall
                                                     Jesse R. Binnall
                                                     Attorney for Donald J. Trump




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